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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

  RICARDO BOUTO,                                   )
                                                   )
              Plaintiff,                           )       No. 19 cv 2441
                                                   )
                           v.                      )       Judge Robert M. Dow, Jr.
                                                   )       Magistrate Judge Susan E. Cox
  REYNALDO GUEVARA, et al.,                        )
                                                   )
               Defendants.                         )


                                            ORDER

       This matter comes before the Court on Plaintiff’s Motion for Entry of a Protective Order

[45]. The parties dispute the terms of the proposed protective order as it relates to Complaint

Register (“CR”) files. While there is no dispute between the parties that the documents must be

redacted if they are publicly disclosed because they contain personal information about witnesses

and other individuals, the parties cannot agree on the scope of such redactions and mechanism for

producing the CR files. The Defendant City of Chicago (the “City”) proposes producing all of the

voluminous CR files requested by Plaintiff in an unredacted form, but protected from public

disclosure. According to the City’s proposed protective order, the unredacted versions of the CRs

would thus be covered as follows:

              Par. 17:        Public Disclosure of Documents Designated
              “Confidential.” This Order prohibits the disclosure of any
              document designated as a “confidential” subject to the limitations of
              Section 4(b). Any party or counsel seeking to use or disclose
              confidential information for any reason other than for purposes of
              this litigation, including for public disclosure, will not use the
              documents designated as “Confidential” but shall instead comply
              with the requirements set forth under the Illinois Freedom of
              Information Act (“IFOIA”), 5 ILCS 140/et., to obtain the desired
              documents from the proper public body.



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       Plaintiff contends that the City should produce to them two versions of the CRs in question:

a redacted version that complies with IFOIA, which he can disseminate to the public without

further order of the Court, and an unredacted version which he can use for his purposes in the

litigation. At its essence, Plaintiff’s argument is that IFOIA makes these documents public.

Plaintiff contends that he should not have to resort to the judicial IFOIA process if he can obtain

the documents through the discovery process, thus the City does not have “good cause” for the

protection it seeks. Conversely, the City argues that the redactions required for these documents

is burdensome and that Plaintiff has no proper litigation purpose for short-circuiting the careful

IFOIA review it would need to undertake before CR files could be publicly disseminated.

       Courts in our district have differed on whether the requisite “good cause” exists to protect

unredacted CRs in the fashion that the City proposes. Compare Prince v. Kato, 2019 WL 3554533,

at *3-4 (N.D. Ill. July 30, 2019)(finding that City could produce CR files as confidential with

limited redactions instead of IFOIA redactions), and Bailey v. City of Chicago, 19-cv-197, Dkt. 58

(N.D. Ill. June 12, 2019)(same), and Mendez v. City of Chicago, 18-cv-5560, Dkt. 80 (N.D. Ill.

Apr. 3, 2019), with Sierra v. Guevara, 18-cv-3029, Dkt. 118 (N.D. Ill. June 7, 2019)(ordering

production and dissemination of CR files with “the same redactions allowed under IFOIA”), and

Jackson v. City of Chicago, 2017 WL 5478303, at *2 (N.D. Ill. Nov. 14, 2017). On balance, this

Court agrees with those decisions which have found that preemptive IFOIA redactions are unduly

burdensome, and good cause exists under Rule 26(c)(1) to protect a producing party from making

IFOIA redactions before producing CR files. As such, the Court believes that the City’s proposed

language in the protective order is appropriate here.

       Discovery is not a public process and documents obtained from it are not disseminated

publicly until they are cited in a court filing. See Bond v. Utreras, 585 F.3d 1061, 1066 (7th Cir.



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2009)(“[T]here is no constitutional or common-law right of public access to discovery materials

exchanged by the parties but not filed with the court. Unfiled discovery is private, not public.”)

The fact that these CRs may be obtained through the IFOIA process does not change that fact.

Plaintiff is essentially requiring the City to treat their discovery requests as a request under IFOIA

instead of pursuing such a request through the separate, dedicated judicial processes that already

exists for IFOIA production. When questioned about this during oral argument, Plaintiff’s counsel

stated that such a request places too big a burden on Plaintiff due to the objections the City can

raise to disclosure in IFOIA proceedings. In a way, this supports the City’s argument concerning

the burden imposed upon it by substituting a discovery request for one made pursuant to IFOIA.

As the City points out, there are 37 IFOIA redaction categories which require a particular review

usually done by specific City attorneys trained in IFOIA law. In addition, the Court is unpersuaded

by Plaintiff’s need to bypass the IFOIA process or require it to be done in the litigation process.

Plaintiff argues that he needs to ensure the City’s production is complete. Putting aside the fact

that Plaintiff’s counsel represents several other plaintiffs in many of the other cases involving

many of the same defendants and substantially similar fact patters, Plaintiff has no need for IFOIA

redacted copies to do this. Whether the production is complete will not be affected by the type of

redactions the City makes in production, and under the City’s proposal Plaintiff would receive CR

files in unredacted form, allowing a fulsome review of the production for completeness. Plaintiff’s

professed need to use the documents in other cases also is unpersuasive. Plaintiff can move for a

specific exception from the proposed order for such disclosure at a later date, but, given the scope

of Monell discovery in other similar cases, it seems clear that Plaintiff and his counsel already have

access to most of these materials. Accordingly, the Court finds that the City’s argument carries

the day here.



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       The parties are at loggerheads about two other provisions. The first is Paragraph 1(b),

which protects employment and disciplinary files of individuals involved in this case. The second

is Paragraph 2(c), which is a “claw-back” provision that would allow the City to designate as

confidential documents initially produced without such a designation during the litigation. As to

the first, these documents are routinely deemed confidential and the Court finds the reasoning in

Gomez v. City of Chicago allowing such a designation persuasive, particularly because Plaintiff

has a remedy to challenge the designation in the protective order. 2017 WL 5517254, at *3 (N.D.

Ill. Nov. 17, 2017); see also, Prince v. Kato, 2019 WL 3554533, at *4. Therefore, the Court finds

that the City’s proposed language in Paragraph 1(b) is appropriate. Similarly, the Court will adopt

the City’s version Paragraph 2(c) with one addition. This provision seems designed to “claw back”

confidential documents which are inadvertently produced by the City. As such, the language of

the provision should reflect the Court’s understanding by including the word “inadvertently” as

the fourth word of the paragraph.

       Accordingly, the Court Denies Plaintiff’s Motion for Entry of a Protective Order [45] and

will enter the City’s proposed protective order in this case. The City is ordered to submit a clean

copy of that order to the Court’s proposed order inbox for signature.



ENTERED: 2/11/2020




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Hon. Susan E. Cox,
United States Magistrate Judge




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